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                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON




UNITED STATES OF AMERICA

v.                                   CRIMINAL ACTION NOS. 2:05-00107-01

GEORGE LECCO




                        MEMORANDUM OPINION AND ORDER


             Pending are defendant George Lecco’s motion for change

of venue, filed August 12, 2009, and motion to bar the death

penalty due to victim related racial and gender discrimination

or, in the alternative, for discovery, an evidentiary hearing and

other relief such as the exclusion of “victim impact” evidence

and/or testimony before the jury and appropriate instructions

(“motion to bar the death penalty or for discovery”), filed

August 12, 2009.



                            I.   Change of Venue



             Defendant Lecco observes that media coverage of this

action commenced in early 2005, with stories appearing daily at

certain points.       He attaches and quotes articles appearing in The
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Logan Banner, The Charleston Daily Mail, The Charleston Gazette,

and The Williamson Daily News.         In particular, defendant notes

news accounts describing the victim’s death in graphic detail,

“including accounts of how ‘Lecco and [co-defendant Valeri]

Friend’ beat and tortured Collins before her death.”               (Defs.’

Mot. at 3).     A brief summary of the media accounts identified by

defendant follows:

      1.     October 2005: A detailed news account noted that the
             grand jury had alleged that “Lecco . . . paid Friend to
             torture the informant and helped her while she
             ‘intentionally inflicted bodily injury that resulted in
             [the] death’” of the victim.

      2.     December 2005: Details of the murder, including
             accounts of the victim asking to pray before she was
             killed.

      3.     December 2005: Details concerning the “gruesome” nature
             of the scene, with Friend allegedly beating Collins
             with the rock and hammer while Collins pleaded for her
             life.

      4.     December 2005: Details concerning an interview with
             Carmella Blankenship wherein she claimed Patricia
             Burton told her that defendant Lecco would kill anyone
             who discussed the murder.


             Beyond this coverage in 2005, however, defendant also

asserts that media treatment continued during 2006 and through

the trial in 2007 “chronicl[ing] every step of the investigation

of a missing person, the location and recovery of Collins’ body,

the various arrests and statements made during the murder

investigation, and” so forth.        (Defs.’ Mot. at 4).        Defendant


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notes in particular the following observations from the victim’s

mother following the trial:

      [O]n May 31, 2007, just two days after the jury
      recommended the death penalty, the Charleston Gazette
      ran an article entitled "Victim's mother supports death
      for pair in informant's killing/woman once considered
      two as friends." In the article, Collins' mother spoke
      out about the method of execution facing Lecco and
      Friend, proclaiming her belief that it (lethal
      injection) "should be a whole lot harsher." The article
      then recounted with specificity the details of Collins'
      death and her mother's statement that it was "tough to
      hear testimony that Friend had mocked her daughter when
      she asked to pray while bleeding from the gunshot
      wound." In the same article, a spokesperson for the
      government explains how the Department of Justice
      approves the death penalty in only the most egregious
      cases.

(Id.)       Defendant additionally points out blogging about the case

over the Internet,1 while conceding that “the coverage . . . over



        1
      For example, a December 2005 post by one anonymous writer
stated as follows:

      George Lecco and his kind are the vile evil men who
      have made a life out of vampiring off the souls of
      young girls like Carla and his own daughter, whom I
      have [sic] sadly can admit to partying with many years
      ago. Unable and unwilling to earn a decent living he
      turned to destroying lives to feed his own evil desires
      and make fat [h]is putrid belly by sucking hope from
      people and replacing hope with the false god of
      ‘getting high.' Unfortunately, Carla fell for his lie
      and when she tried to make her escape by helping law
      enforcement -- she paid with her life. She paid with a
      slow gruesome death and a shallow grave that is much
      better suited for Lecco and his powder snorting
      cronies. Her kids now have no mother while he bargains
      for his life. May his legal jousting end with a faulty
      electric chair that slowly fries his --- from the
      inside out.

(Id. at 5 (citation omitted)).

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the two years following the verdict and post-trial motions has

not been as regular . . . .”         (Id.).2


             In addition to summarizing the extensive media coverage

of the case, defendant retained Global Strategy Group to conduct

a telephonic survey of residents in the Northern and Southern

Districts of West Virginia and the Western District of Virginia.

He summarizes the results of that survey as follows:

      Almost 20% of the SDWV residents polled believe that
      Mr. Lecco is guilty of murder. The survey revealed that
      those familiar with the case are more likely to believe
      that Lecco is guilty than those unfamiliar with the
      case. Of those polled in the SDWV, 29% recalled a story
      in the news about the case and a combined 41% had some
      level of familiarity with the case. Of those who
      recalled the case, 43% of them believe Lecco is guilty.
      Given the correlation between familiarity with the case
      and a belief in guilt, the fact that almost 20% of
      those polled in the SDWV were aware of the guilty
      verdict and subsequent death sentence in the case is
      compelling.

           In contrast to the SDWV, of those polled in the
      two other districts, only 9% were familiar with the
      story (in the Northern District of West Virginia
      (“NDWV”)) and 7% (in the Western District of Virginia
      (“WDVa”)).

           The conclusion of the survey is that a pool of
      jurors assembled in the SDWV is significantly more


      2
      Defendant notes as well a June 2008 article in the Sunday
Gazette Mail recapping the trial and post-trial developments and,
among others, May 6 and June 4, 2009, articles discussing the
memorandum opinion and order granting a new trial and the recent
Fourth Superseding Indictment alleging that defendant had the
victim killed in order to protect a cocaine ring.

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      likely to know about the case and have an opinion than
      those polled in the NDWV or the WDVa.

(Id. at 1-2).


             In United States v. Higgs, 353 F.3d 281 (4th Cir.

2003), defendant was charged with a number of offenses eligible

for capital treatment under the Federal Death Penalty Act of 1994

(“FDPA”), §§ 3591-98.       The defendant moved to change venue,

asserting that the extensive media coverage of the case would

infringe his right to a fair and impartial jury in violation of

the Fifth and Sixth Amendments.         The court of appeals summarized

the governing law and the distinction between the presumed and

actual prejudice that each might suffice for a venue change:

           As a general premise, a change of venue is
      warranted when the court is satisfied that there exists
      in the district where the prosecution is pending “so
      great a prejudice against the defendant” that “the
      defendant cannot obtain a fair and impartial trial.”
      Fed.R.Crim.P. 21(a). The determination of whether a
      change of venue is required as a result of pretrial
      publicity involves a two-step process. First, the
      district court must determine “whether the publicity is
      so inherently prejudicial that trial proceedings must
      be presumed to be tainted,” and, if so, grant a change
      of venue prior to jury selection. Id. However, “[o]nly
      in extreme circumstances may prejudice to a defendant's
      right to a fair trial be presumed from the existence of
      pretrial publicity itself.” [S]ee also United States
      v. Jones, 542 F.2d 186, 193 (4th Cir. 1976) (noting
      that cases in which prejudice will be presumed will be
      rare). Ordinarily, the trial court must “conduct[ ] a
      voir dire of prospective jurors to determine if actual
      prejudice exists.” If “voir dire reveals that an
      impartial jury cannot be impanelled,” the trial court

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      should then grant the motion.

Id. at 307-08 (emphasis supplied) (some citations omitted); see

also United States v. Bakker, 925 F.2d 728 (4th Cir. 1991) (“This

court has cautioned, however, that “[o]nly in extreme

circumstances may prejudice be presumed from the existence of

pretrial publicity itself.” Instead, a trial court customarily

should take the second step of conducting a voir dire of

prospective jurors to determine if actual prejudice exists.                  Only

where voir dire reveals that an impartial jury cannot be

impanelled would a change of venue be justified.”) (citations

omitted).


             The decision in Higgs informs the appropriate outcome

here with respect to presumed prejudice.              In Higgs, defendant

asserted that there was a “volume of news media coverage that

occurred during the four-plus years that elapsed between the time

of the murders and the time that jury selection began in his

case.”    Higgs, 353 F.3d at 308.       Higgs and a fellow defendant

were the first defendants in the Greenbelt Division to face a

capital trial.       An associate of theirs had also just been tried

and convicted on the same murder charges.              News accounts released

just prior to that associate’s trial recounted the associate’s

claim that Higgs ordered the murders.           Both the associate and


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Higgs were described as local drug dealers serving federal time

for controlled substance offenses.          Additionally,      130

prospective jurors, and seven who were seated, had read or heard

about the case.


             As in Higgs, the court cannot conclude that the media

coverage here, which has substantially diminished over the course

of the past two and one-half years since the first trial, is so

inherently prejudicial that a taint must be presumed.                The

extreme circumstances necessary for granting a change of venue

under this first step in the analysis are thus absent.


             The survey of the jury pool does not change the

outcome.     Fully 65% of the survey respondents reported that they

were “Not that familiar” (14%) or “Not familiar at all” (51%)

“with a story in the news about the murder of a woman named Carla

Collins in Minto County . . . that took place in 2005.”                (Ex. 1

at 4, Defs.’ Mot.).       Regarding question 10X, 76% of the survey

respondents had never heard of Valeri Friend and 79% answered

likewise as to George Lecco.


             Accordingly, a definitive resolution of whether a venue

change is warranted must await voir dire.             The nature and timing

of the media coverage, and the survey outcome, indicate that care


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will be warranted during that process to ascertain if actual

prejudice exists on an individualized basis.             Inasmuch as a basis

for presumed prejudice is lacking, the court, accordingly, ORDERS

that the motion for change of venue be, and it hereby is, denied

without prejudice to its renewal at the appropriate time during

voir dire.



       II.   Motion to Bar the Death Penalty or For Discovery.



             Defendant Lecco asserts that “any death sentence in

this matter will be the product of emotion, not rationality, and

present a clear danger that the race and gender of the victim is

an ‘arbitrary’ factor which influenced that decision.”               (Mot. at

1).   He requests the following relief:

      [T]hat the Court bar the death penalty. In the
      alternative, the defendant[] request discovery and an
      evidentiary hearing and/or a retrial without victim
      impact evidence and/or with testimony regarding other
      cases where the death penalty was not sought or
      obtained and/or with testimony regarding the race and
      gender of victim effect and/or with testimony about
      other similar cases and the race and gender of victims
      in other cases with appropriate instructions and/or
      with other procedures designed to avoid prejudice and
      passion and the arbitrary factor of the race and gender
      of the victim.

(Id. at 7).


             In its April 5, 2007, memorandum opinion and order, the

court concluded as follows:

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      Defendants also contend the FDPA is unconstitutional
      inasmuch as it is applied disproportionately to those
      accused of killing white and female victims. In the
      alternative, defendants request discovery and an
      evidentiary hearing to develop and examine statistical
      data. The defendants' argument is foreclosed by, inter
      alia, McCleskey v. Kemp, 481 U.S. 279 (1987) and United
      States v. Armstrong, 517 U.S. 456, 483 (1996).

United States v. Lecco, No. 2:05-00107, 2007 WL 1074775, *2 at

n.1 (S.D. W. Va. Apr. 5, 2007).


             Defendant now asserts that he is offering “detailed

gender related victim evidence [that] . . . has not been

presented to any court before this one.”              (Def.’s Memo. in Supp.

at 3); see also id. at 15) (“Although the significance of victim

race in death sentencing outcomes has been discussed for at least

twenty years, very little prior research has examined whether the

combined effect of victim race and gender affects sentencing

outcomes in capital cases.       This area has only recently gained

the attention of researchers.”).


             The data supporting the statistical analysis is taken

from approximately 403 completed federal death penalty cases with

race and gender information as to each defendant and victim.                  The

thrust of defendant’s argument is that candidates for federal

capital punishment who are accused of the murder of a white

female are three times more likely than other federal capital

candidates to be sentenced to death.

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             The statistical expert responsible for the research

 underlying defendant’s motion, Dr. Lauren C. Bell, opines that

 “‘this correlation between white female victims and death

 sentencing is highly statistically significant, systemic, and not

 the result of chance.’”       (Id. (citation and emphasis omitted).

 She further states that “there is an ‘essentially zero’ or ‘one

 in one thousand’ chance that the race and gender of the victim is

 not related to the capital sentencing outcome.”             (Id.)


             With respect to the request that the capital sanction

 be barred in this action, in McCleskey v. Kemp, 481 U.S. 279

 (1987), the Supreme Court confronted “whether a complex

 statistical . . . [analysis known as the Baldus study] that

 indicates a risk that racial considerations enter into capital

 sentencing determinations proves that petitioner[‘s] . . .

 capital sentence is unconstitutional under the Eighth or

 Fourteenth Amendment.”      Id. at 283.      With respect to the

 Fourteenth Amendment claim, which focused on the Equal Protection

 Clause, McCleskey asserted, inter alia, that “persons who murder

 whites are more likely to be sentenced to death than persons who

 murder blacks . . . .”      Id. at 291.


             Assuming the statistical validity of the underlying

 study, the Supreme Court nevertheless concluded that the claim


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 failed.    Specifically, the Supreme Court observed that the Baldus

 study, as intricate and detailed as it was, was nevertheless

 insufficient to support an inference that any of the decision

 makers in McCleskey’s case acted with discriminatory purpose.3


             With respect to the Eighth Amendment challenge, the

 Supreme Court concluded as follows:

       Because McCleskey's sentence was imposed under Georgia
       sentencing procedures that focus discretion “on the
       particularized nature of the crime and the
       particularized characteristics of the individual
       defendant,” we lawfully may presume that McCleskey's
       death sentence was not “wantonly and freakishly”
       imposed, and thus that the sentence is not
       disproportionate within any recognized meaning under
       the Eighth Amendment.

 Id. at 308 (citations omitted).


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       The conclusion was especially significant inasmuch as the
 scope and design of the Baldus study eclipses the far more
 limited analysis offered by defendant. The Baldus study was
 composed of two “sophisticated” statistical inquiries examining
 over 2,000 murder cases in Georgia in the 1970s. The study
 observed that those accused of killing whites received the death
 penalty in 11% of the cases while others accused of murdering
 African-Americans faced the ultimate sanction only 1% of the
 time. The Supreme Court observed additionally as follows:

       Baldus subjected his data to an extensive analysis,
       taking account of 230 variables that could have
       explained the disparities on nonracial grounds. One of
       his models concludes that, even after taking account of
       39 nonracial variables, defendants charged with killing
       white victims were 4.3 times as likely to receive a
       death sentence as defendants charged with killing
       blacks.

 Id. at 287.

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             Following the decision in McCleskey, those courts

 addressing its analysis have characterized the case as providing

 very little flexibility for challenges to capital sentencing laws

 based upon statistical evidence.           See, e.g., Blanco de Belbruno

 v. Ashcroft, 362 F.3d 272, 282 (4th Cir. 2004) (citing McCleskey

 as “holding in the context of capital sentencing that inferences

 from statistics are of doubtful relevance to the infinite fact

 variations of individual cases . . . .”); Bell v. Ozmint, 332

 F.3d 229, 239 (4th Cir. 2003)(“In McCleskey, the Court ‘set forth

 very exacting standards for entitlement to constitutional relief

 based on statistical evidence of race-of-defendant and

 race-of-victim effects.’ The Eisenberg study, which suffers from

 some of the shortcomings we identified in [an earlier case], does

 not constitute ‘the exceptionally clear proof’ demanded by

 McCleskey.”); United States v. Sampson, 486 F.3d 13, 26 (1st Cir.

 2007).4



       4
       Defendant attempts to distinguish McCleskey based upon,
 inter alia, the considerations that (1) the case was decided
 after discovery and an evidentiary hearing below, (2) here,
 unlike McCleskey, there is but one decision maker, namely, the
 Attorney General, and (3) the FDPA explicitly seeks to ensure
 that a capital sentence, when rendered, is imposed without regard
 to race or gender. Assuming the accuracy of these proposed
 distinctions, they do not warrant a departure from the demanding
 analysis found in McCleskey. There is no indication that the
 decision in McCleskey would have been different had it possessed
 these distinguishing characteristics. The court, accordingly, is
 bound to apply the governing standard found in McCleskey until
 instructed to do otherwise by the Supreme Court.

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             The statistical analysis offered by defendant likewise

 lacks the degree of proof necessary to justify an absolute bar on

 the capital sanction based upon victim-based gender and race

 discrimination.      Whether viewed as a Fifth or Eighth Amendment

 challenge, McCleskey and its progeny counsel against

 reconsideration of the court’s earlier ruling that rejected

 defendant’s request to absolutely bar the capital penalty.


             Regarding the request for discovery, the inquiry is

 controlled by United States v. Armstrong, 517 U.S. 456 (1996),

 and no less demanding.      In United States v. Wilson, 262 F.3d 305

 (4th Cir. 2001), a case relying upon Armstrong, our court of

 appeals reiterated the exceptionally high standard governing

 discovery of the type sought by defendant:

       Because of th[e] necessary presumption of prosecutorial
       regularity, a presumption of vindictive prosecution, or
       any other type of selective prosecution, must be
       supported by a showing sufficiently strong to overcome
       the presumption of prosecutorial regularity. Indeed,
       even before a court allows a defendant to have
       discovery on the government's prosecutorial decisions,
       the defendant must overcome a significant barrier by
       advancing objective evidence tending to show the
       existence of prosecutorial misconduct. The standard is
       a “rigorous” one. . . . [Armstrong, 517 U.S.] at 468 .
       . . . As we summarized the standard more fully in
       United States v. Olvis:

             Just as the standard for ultimately proving a
             selective prosecution claim is a rigorous
             one, so too is the evidentiary threshold for
             obtaining discovery from the government to
             support such a claim. A significant barrier

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             to discovery is necessary because discovery
             “imposes many of the costs present when the
             government must respond to a prima facie case
             of selective prosecution”; it diverts
             governmental resources and discloses
             prosecutorial strategies.

       97 F.3d 739, 743 (4th Cir. 1996) (quoting Armstrong,
       517 U.S. at 464, 116 S.Ct. 1480) . . . .

 Id. at 315-16.


             More recently, in United States v. Khan, 461 F.3d 477

 (4th Cir. 2006), the court of appeals observed as follows:

       In order to obtain discovery on a selective prosecution
       claim, a defendant must make “a credible showing of
       different treatment of similarly situated persons.”
       [Armstrong, 517 U.S.] at 470 . . . . This showing
       “should itself be a significant barrier to the
       litigation of insubstantial claims.” Id. at 464 . . . .
       In deference to executive discretion, we have held that
       “defendants are similarly situated when their
       circumstances present no distinguishable legitimate
       prosecutorial factors that might justify making
       different prosecutorial decisions with respect to
       them.”

 Id. at 498.5


       5
       To the extent defendant would assert that a different
 standard should apply in the context of the Attorney General’s
 decision to certify defendants for capital treatment, the Supreme
 Court has suggested otherwise in a per curiam decision. In
 United States v. Bass, 536 U.S. 862 (2002), the United States
 filed a notice of intent to seek the death penalty. The target of
 the notice, an African-American, alleged that the decision was
 motivated by race. He moved to dismiss the notice and, in the
 alternative, for discovery of information relating to the United
 States’ capital charging practices. Relying upon Armstrong, and
 the standards found in the body of this memorandum opinion and
                                                    (continued...)

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             Dr. Bell’s five-page affidavit focuses on the race and

 gender of the various victims in the cases analyzed.              The

 document does not examine the nature and circumstances of the

 particular defendants who comprise the data set or the nature of

 the crimes of which they were accused.           It appears that quite a

 bit of this missing information resides in the public domain,

 including indictments, substantive pleadings, notices of intent

 to seek the capital penalty, and interviews with defense counsel.

 Indeed, the Declaration of the Director of the Federal Death

 Penalty Resource Counsel Project (“FDPRC”), attached as an

 exhibit to the motion to bar the death penalty or for discovery,

 reflects that this type of material is gathered in the ordinary

 course by the FDPRC.


             It is this type of detailed, defendant- and crime

 specific information that might offer the beginnings of a showing

 that those in the data set are, or are not, similarly situated to

 defendant.     Absent this information, however, it is impossible to

 determine if persons similarly situated to defendant were treated


       5
       (...continued)
 order, the Supreme Court concluded that a nationwide statistical
 study offered by the defendant was of little assistance inasmuch
 as “raw statistics regarding overall charges say nothing about
 charges brought against similarly situated defendants.” Id. at
 864.

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 differently from him, namely, that their circumstances present no

 distinguishable legitimate prosecutorial factors that might

 justify making different prosecutorial decisions with respect to

 them.       The court, accordingly, concludes defendant is not

 entitled to discovery respecting his selective prosecution

 claim.6


                Based upon the foregoing, the court ORDERS that

 defendant Lecco’s motion to bar the death penalty or for

 discovery be, and it hereby is, denied.


                The Clerk is directed to forward copies of this written

 opinion and order to the defendant and all counsel of record.


                                            DATED: October 15, 2009


                                            John T. Copenhaver, Jr.
                                            United States District Judge




         6
       Alternatively, defendant seeks two additional forms of
 relief. First, he requests a retrial without victim impact
 evidence. Inasmuch as the Supreme Court has specifically
 permitted such evidence in the capital context, the court is
 obliged to decline the request. Second, he seeks permission to
 essentially offer at trial some or all of the data underlying Dr.
 Bell’s statistical analysis. While the court need not
 definitively resolve the matter at this stage of the case, that
 type of evidence would appear to contravene, inter alia, Federal
 Rules of Evidence 401 and 403.

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